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                    UNITED STATES COURT OF APPEALS
                        FOR THE SECOND CIRCUIT


UNITED STATES OF AMERICA,
                                                        No. 24-2606-cr
                  Appellee,

v.

SEAN COMBS,

                  Defendant-Appellant.


                 REPLY MEMORANDUM IN SUPPORT OF
                MOTION TO HOLD APPEAL IN ABEYANCE

      It is remarkable that the government would oppose this straightforward,

routine request for a stay made in service of principles of judicial economy. The

stay will allow the record below to be further developed, and it may obviate the

need for the appeal. There is no good reason to deny the motion.

      Mr. Combs’ request for a stay is not an attempt at forum shopping. Nor is it

based “merely on the hypothetical possibility of future motion practice in the

District Court.” (Gov. Opp. ¶8). Mr. Combs is currently incarcerated and fully

intends to pursue a renewed bail request before the district court as expeditiously

as possible. The district court stated it would “certainly hear” a new bail

application. Oct. 10, 2024 Tr. 26.




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      1.     Contrary to the government’s opposition, Mr. Combs’ renewed bail

request will be based on significant changed circumstances that could not be

presented to the district court at his initial bail hearing. These circumstances

include, inter alia, constitutional concerns stemming from his conditions of

confinement and evidence contained in recently produced discovery.

      First, under the Fifth and Sixth Amendments, Mr. Combs is entitled to

meaningfully participate in his defense and collaborate with counsel. At the

October 10, 2024 Status Conference, however, the government described an

unprecedented volume of electronic discovery—almost 100 terabytes extracted

from at least 96 electronic devices. Id. Tr.10-13. The government described the

size of the data as “extraordinary.” Id. Tr.12. The volume of the discovery

combined with Mr. Combs’ current conditions of confinement make his review of

the material and his collaboration with counsel virtually impossible. The data here

is so large that the government represented it would need to engage in further

dialogue with the defense as to how exactly this data could be transferred to the

defense team—never mind how Mr. Combs would be able to review it from prison.

      Under the Bail Reform Act, a detention order is only lawful to the extent it

“afford[s] [a] reasonable opportunity for private consultation with counsel.” 18

U.S.C. § 3142(i)(3). And it explicitly permits pretrial release “when necessary for

preparation of the person’s defense.” 18 U.S.C. § 3142(i). Although the Supreme

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Court has rejected facial challenges to the Act’s procedures, it has not determined

“whether or not they might be insufficient in some particular circumstances,” such

as the circumstances that will be outlined in Mr. Combs’ renewed bail request.

United States v. Salerno, 481 U.S. 739, 751 (1987).

      Second, the discovery the defense has reviewed to date further undermines

the government’s proffer at the initial bail hearings, particularly as to the alleged

risk of obstruction, which was the district court’s primary basis for ordering

detention. Although we are proceeding as expeditiously as possible, there is an

enormous volume of materials, and it is critical to Mr. Combs that we present a

complete picture to the district court. That is the only reason we have not yet filed

the renewed bail application, which we anticipate filing well in advance of the date

this Court has set for oral argument on the pending bail motion. Mr. Combs should

not be punished for his diligence and efforts to ensure that his new application is as

complete as possible.

      2.     The government is also wrong that judicial economy will not be

served by a stay. The available caselaw clearly counsels in favor of a stay when

the district court will consider the same or similar issues as those involved in the

pending appeal. Indeed, this court routinely holds appeals in abeyance, even after

opening and opposition briefs have already been filed. See, e.g., United States v.

Shor, No. 19-3936(L) (2d Cir. Aug. 5, 2020), Dkt. 133 (granting motion to hold

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appeal in abeyance after both parties had filed merits briefs); see also In re

Terrorist Bombings of U.S. Embassies in E. Afr., 552 F.3d 93, 102 n.3 (2d Cir.

2008) (describing how panel granted stay pending district court decision on a

motion for a new trial based on newly disclosed evidence). It does not matter that

a renewed bail request is not identical to a motion to reconsider a Rule 33 ruling—

the subject of United States v. Camacho, 302 F.3d 35 (2d Cir. 2002). The

efficiency concerns motivating the holding there have equal application here. 1

      It would waste the parties’ and the Court’s resources to hear this appeal, and

then hear a potential future appeal from any decision on the renewed bail

application. This is particularly true where the current record lacks new material

information affecting the bail analysis that will be further developed below.

      The Court should therefore grant the motion to hold the appeal in abeyance.




1
 The government’s statement that Mr. Combs “filed the present motion after both
parties had already filed” their briefs in this Court (Gov. Opp. ¶8) is misleading.
Defense counsel alerted the government that it would be filing this motion two days
before the government’s response brief was due, but instead of consenting to the
proposed relief, the government accelerated the filing of its response, filing it at
10:58pm the night before it knew we would file this motion to hold the appeal in
abeyance.
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Dated: New York, NY
       October 21, 2024                     /s/Alexandra A.E. Shapiro
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